        Case 1:19-mc-00145-TSC Document 139 Filed 07/13/20 Page 1 of 10




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                              )
In the Matter of the                          )
Federal Bureau of Prisons’ Execution          )
Protocol Cases,                               )
                                              )
LEAD CASE: Roane et al. v. Barr               )       Case No. 19-mc-145 (TSC)
                                              )
                                              )
THIS DOCUMENT RELATES TO:                     )
                                              )
Lee & Honken v. Barr, et al., 19-cv-2559      )
Purkey v. Barr, et al., 19-cv-03214           )
Nelson v. Barr, et al., 20-cv-557             )

                         DEFENDANTS’ MOTION TO STAY
                    PRELIMINARY INJUNCTION PENDING APPEAL
       Pursuant to Federal Rule of Civil Procedure 62(c)(1) and consistent with Federal Rule of

Appellate Procedure 8(a)(1), Defendants respectfully move for a stay pending appeal of this

Court’s Order, issued on July 13, 2020, enjoining Defendants from proceeding with the executions

of Plaintiffs Daniel Lewis Lee, Wesley Purkey, Dustin Lee Honken, and Keith Nelson, scheduled

for July 13, 2020, July 15, 2020, July 17, 2020, and August 28, 2020, respectively, until further

order of this Court. See ECF Nos. 135 & 136. In support of this motion, Defendants attach the

declaration of Rick Winter, which describes the harm to the Federal Bureau of Prisons (“BOP”)

and the stakeholders if the executions were to be postponed. In view of the fact that the first

execution is scheduled to occur in a matter of hours, and the remaining dates are rapidly

approaching, Defendants plan to seek relief in the Court of Appeals shortly after this filing.

       Defendants recognize that this Court has determined that Plaintiffs meet the standard for

issuance of a preliminary injunction, which is the same standard that applies to this motion.

Federal Rule of Appellate Procedure 8(a)(1), however, counsels Defendants to first move in this

Court for a stay of the injunction pending appeal before seeking a stay in the Court of Appeals.

Accordingly, for the reasons stated below and in Defendants’ [corrected] opposition brief to
Plaintiffs’ motion for a preliminary injunction, see ECF No. 113-1, as well as in Defendants’
        Case 1:19-mc-00145-TSC Document 139 Filed 07/13/20 Page 2 of 10




[corrected] sur-reply brief, ECF No. 122-1, Defendants respectfully request that the Court stay the

injunction pending appeal. 28 C.F.R. § 0.20(b); 28 U.S.C. § 2107(b).

                                   STANDARD OF REVIEW

        Federal Rule of Civil Procedure 62(c) provides in relevant part: “When an appeal is taken

from an interlocutory or final judgment granting . . . an injunction, the court in its discretion may

suspend . . . an injunction” during the pendency of the appeal. District courts considering a motion

for such a stay consider the same factors as those governing a motion for a preliminary injunction:

“(1) whether the stay applicant has made a strong showing that he is likely to succeed on the merits;

(2) whether the applicant will be irreparably injured absent a stay; (3) whether issuance of the stay

will substantially injure the other parties interested in the proceeding; and (4) where the public

interest lies.” Hilton v. Braunskill, 481 U.S. 770, 776 (1987). Before seeking a stay from the

Court of Appeals, a party must ordinarily move first in the District Court for an order suspending

an injunction pending appeal. Fed. R. App. P. 8(a).

                               ARGUMENT
   I.      DEFENDANTS ARE LIKELY TO SUCCEED ON THE MERITS OF THEIR
           APPEAL OF THIS COURT’S INJUNCTION
        Defendants are likely to succeed on the merits of their appeal of this Court’s injunction.

This Court held that Plaintiffs are likely to succeed on their Eighth Amendment method-of-

execution challenge to BOP’s Execution Protocol, which uses pentobarbital as the single lethal

agent. ECF No. 135. Respectfully, Defendants disagree with this Court’s conclusion for the

reasons set forth in Defendants’ [corrected] opposition to Plaintiffs’ motion for a preliminary

injunction, ECF No. 113-1 at 8-23, Defendants’ [corrected] sur-reply brief, ECF No. 122-1, and

the supporting declarations attached to those filings. Defendants are likely to succeed on appeal

on Plaintiffs’ Eighth Amendment claim because the 2019 Protocol does not pose a substantial risk

of severe harm and, even if it did, Plaintiffs have failed to propose a known and available

alternative method of execution that is feasible and readily implemented, and that in fact
significantly reduces a substantial risk of severe pain.


                                                  2
         Case 1:19-mc-00145-TSC Document 139 Filed 07/13/20 Page 3 of 10




   II.      THE BALANCE OF HARMS WEIGHS IN FAVOR OF ENTRY OF A STAY
            OF THE PRELIMINARY INJUNCTION
         This Court further held that the balance of harms weighs in favor of issuance of a

preliminary injunction. Defendants respectfully disagree. The Supreme Court has repeatedly

recognized the Government and the victims’ compelling interest in the timely enforcement of a

death sentence. See Calderon v. Thompson, 523 U.S. 538, 556 (1998); Gomez v. U.S. Dist. Court

for N. Dist. of Cal., 503 U.S. 653, 654 (1992); see also Bucklew v. Precythe, 139 S. Ct. 1112, 1134

(2019) (“The people of Missouri, the surviving victims of [the condemned inmate’s] crimes, and

others like them deserve better. Even the principal dissent acknowledges that the long delays that
now typically occur between the time an offender is sentenced to death and his execution are

excessive.”) (citation omitted from parenthetical). Indeed, in this very case, Judge Katsas has

found that this Court “failed to recognize the important governmental and public interest in the

timely implementation of capital punishment.” In re Execution Protocol Cases, 955 F.3d at 126

(Katsas, J., concurring). This is particularly the case where, as here, the execution dates are set

and the Government has mobilized its resources to carry out the lawful sentence.

         As Mr. Winter explains in his declaration, each execution requires significant advanced

planning and coordination, including the “activation of the execution team, which consists of

approximately 40 BOP staff members,” Declaration of Rick Winter, dated July 9, 2020 (“Winter

Decl.”) ¶ 5; the mobilization of approximately 100 BOP staff at the Federal Correctional Complex

at Terre Haute (“FCC Terre Haute”) to serve as institution security and support during the

execution, id. ¶ 8; the synchronization of the schedules of BOP contractors who must set aside

their own personal and work-related matters for each execution, id. ¶ 6; the coordination of security

measures with federal, state, and local law enforcement agencies, id. ¶ 7; the arrangement of travel

and lodging for any victims’ family members who have committed to witnessing the execution,

id. ¶ 11; as well as the participation of approximately 50 additional BOP personnel from

specialized teams, such as Special Operations Response Teams and Disturbance Control Teams,
who will need to travel to FCC Terre Haute from other BOP institutions, id. ¶ 10. These


                                                 3
        Case 1:19-mc-00145-TSC Document 139 Filed 07/13/20 Page 4 of 10




preparations cannot easily be undone; “[a]ny adjustment to the execution dates would require

significant planning and coordination such as that which already has been undertaken by BOP to

date.” Id. ¶ 12. This is particularly the case now that we are merely hours from Lee’s execution

and two more inmates’ executions are only a few days away.              Accordingly, beyond the

Government’s strong interest in proceeding with the criminal judgment, operational considerations

surrounding the planned executions lend further support in favor of a stay.

                                        CONCLUSION

       For the foregoing reasons, Defendants respectfully request that this Court stay its

injunction pending Defendants’ appeal of this Court’s July 13, 2020 Order enjoining Defendants

from proceeding with the execution of Plaintiffs.



Dated: July 13, 2020
Respectfully submitted,
 MICHAEL R. SHERWIN                                 DAVID M. MORRELL
 Acting United States Attorney                      Deputy Assistant Attorney General
 DANIEL F. VAN HORN                                 PAUL R. PERKINS
 Civil Chief, U.S. Attorney’s Office                Special Counsel

 ALAN BURCH (D.C. Bar 470655)                       JEAN LIN (NY Bar 4074530)
 Assistant United States Attorney                   Special Litigation Counsel
 U.S. Attorney’s Office
 for the District of Columbia                       /s/Cristen C. Handley
 Washington, D.C. 20530                             CRISTEN C. HANDLEY (MO Bar 69114)
 202-252-2550                                       JONATHAN KOSSAK (D.C. Bar 991478)
 alan.burch@usdoj.gov                               Trial Attorneys
                                                    Federal Programs Branch
                                                    Civil Division, Department of Justice
                                                    1100 L Street, N.W.
                                                    Washington, D.C. 20005
                                                    (202) 514-3716
                                                    Jean.lin@usdoj.gov
                                                    Jonathan.kossak@usdoj.gov
                                                    Cristen.handley@usdoj.gov


                                                    Attorneys for Defendants

                                                4
         Case 1:19-mc-00145-TSC Document 139 Filed 07/13/20 Page 5 of 10




                                   CERTIFICATE OF SERVICE
       I hereby certify that on July 13, 2020, I caused a true and correct copy of foregoing to be

served on all counsel of record via the Court’s CM/ECF system. Pursuant to this Court’s August

20, 2019 Order, below is a list of all plaintiffs’ counsel of record (as most recently identified in the

signature pages of the Consolidated Amended Complaint, ECF No. 92):


Alan E. Schoenfeld (admitted pro hac vice)
Ryan M. Chabot (admitted pro hac vice)
WILMER CUTLER PICKERING HALE AND DORR LLP
7 World Trade Center
250 Greenwich Street
New York, New York 10007
(212) 230-8880
Alan.Schoenfeld@WilmerHale.com
Ryan.Chabot@WilmerHale.com

Andres C. Salinas (DC Bar No. 156118)
WILMER CUTLER PICKERING HALE AND DORR LLP
1875 Pennsylvania Avenue NW
Washington, DC 20006
(202) 663-6289
Andres.Salinas@WilmerHale.com

Counsel for Wesley I. Purkey

Joshua C. Toll
D.C. Bar No. 463073 King & Spalding LLP
1700 Pennsylvania Avenue, N.W.
Washington, DC 20006
(202) 737-8616
jtoll@kslaw.com

Margaret O’Donnell
P.O. Box 4815
Frankfort, KY 40604
(502) 320-1837
mod@dcr.net

Counsel for Plaintiff Anthony Battle

Ginger D. Anders (Bar No. 494471)

                                                    5
         Case 1:19-mc-00145-TSC Document 139 Filed 07/13/20 Page 6 of 10


Jonathan S. Meltzer (Bar No. 888166546)
Brendan Gants (Bar No. 1031419)
MUNGER, TOLLES & OLSON LLP
1155 F Street N.W., Seventh Floor
Washington, D.C. 20004-1357
(202) 220-1100

Counsel for Plaintiff Brandon Bernard

Alex Kursman, Assistant Federal Defender
Shawn Nolan, Chief, Capital Habeas Unit
Federal Community Defender Office, E.D. Pa.
601 Walnut Street, Suite 545 West
Philadelphia, PA 19106
Telephone - 215-928-0520
Email – alex_kursman@fd.org

Counsel for Plaintiff Alfred Bourgeois

Joseph Luby, Assistant Federal Defender
Federal Community Defender Office, E.D. Pa.
 601 Walnut Street, Suite 545 West
Philadelphia, PA 19106
Telephone - 215-928-0520
Email – joseph_luby@fd.org

Counsel for Plaintiff Chadrick Fulks

Amy Lentz (DC Bar No. 990095)
Steptoe & Johnson, LLP
1300 Connecticut Avenue NW
Washington, DC 20036
202.429.1320

Counsel for Plaintiff Orlando Hall

Scott W. Braden
Assistant Federal Defender
Arkansas Federal Defender Office
Ark Bar Number 2007123
1401 West Capitol, Suite 490
Little Rock, Arkansas 72201
(501) 324-6114
Scott_Braden@fd.org

Jennifer Ying (DE #5550)
Andrew Moshos (DE #6685)
MORRIS, NICHOLS, ARSHT & TUNNELL LLP
                                              2
         Case 1:19-mc-00145-TSC Document 139 Filed 07/13/20 Page 7 of 10


1201 N. Market St.
P.O. Box 1347
Wilmington, Delaware 19801
(302) 658-9300
jying@mnat.com
amoshos@mnat.com

Counsel for Plaintiff Norris G. Holder, Jr.

Jon Jeffress
KaiserDillon PLLC
1099 14th Street NW
8th Floor West
Washington, DC 20005
Telephone - 202-640-2850
Email - jjeffress@kaiserdillon.com

Timothy Kane, Assistant Federal Defender
Shawn Nolan, Chief, Capital Habeas Unit
Federal Community Defender Office, E.D. Pa.
601 Walnut Street, Suite 545 West
Philadelphia, PA 19106
Telephone - 215-928-0520
Email – timothy_kane@fd.org
Email – shawn_nolan@fd.org

Counsel for Plaintiff Dustin Lee Honken

Donald P. Salzman (D.C. Bar No. 479775)
Charles F. Walker (D.C. Bar No. 427025)
Steven M. Albertson (D.C. Bar No. 496249)
Skadden, Arps, Slate, Meagher & Flom LLP
1440 New York Avenue, N.W.
Washington, D.C. 20005
(202) 371-7983
donald.salzman@skadden.com

Counsel for Plaintiff Corey Johnson

David S. Victorson
Hogan Lovells US LLP
Columbia Square
555 13th Street NW
Washington, DC 20004
(202) 637-5600
(202) 637-5910 (fax)
david.victorson@hoganlovells.com


                                              3
         Case 1:19-mc-00145-TSC Document 139 Filed 07/13/20 Page 8 of 10


Pieter Van Tol (admitted pro hac vice)
Hogan Lovells US LLP
390 Madison Avenue
 New York, NY 10017
(212) 918-3000
(212) 918-3100 (fax)
pieter.vantol@hoganlovells.com

Counsel for Plaintiff Daniel Lewis Lee

Kathryn L. Clune
Crowell & Moring LLP
1001 Pennsylvania Avenue NW
Washington D.C. 20004-2595
(202) 624-2705
kclune@crowell.com

Harry P. Cohen (pro hac vice application pending)
Michael K. Robles (pro hac vice application pending)
James Stronski (pro hac vice application pending)
Crowell & Moring LLP
590 Madison Avenue New York, NY 10022
(212) 223-4000
(212) 223-4134(fax)
hcohen@crowell.com
mrobles@crowell.com
jstronski@crowell.com

Jon M. Sands (pro hac application to be filed)
Dale A. Baich (pro hac application to be filed)
Jennifer M. Moreno
Federal Public Defender
District of Arizona
850 West Adams Street, Suite 201
Phoenix, Arizona 85007
602-382-2816
602-889-3960 (fax)
dale_baich@fd.org
jennifer_moreno@fd.org

Counsel for Plaintiff Keith Nelson

Shawn Nolan, Chief, Capital Habeas Unit
Federal Community Defender Office, E.D. Pa.
601 Walnut Street, Suite 545 West
Philadelphia, PA 19106
Telephone - 215-928-0520
Email – timothy_kane@fd.org
                                                  4
         Case 1:19-mc-00145-TSC Document 139 Filed 07/13/20 Page 9 of 10


Email – shawn_nolan@fd.org

Counsel for Plaintiff Jeffrey Paul


Paul F. Enzinna
D.C. Bar No. 421819
Ellerman Enzinna PLLC
1050 30th Street, NW
Washington, DC 20007
202.753.5553

Counsel for Plaintiff James H. Roane, Jr.

Amy Karlin
Interim Federal Public Defender
Celeste Bacchi
Jonathan C. Aminoff
Deputy Federal Public Defenders
321 E. Second Street
Los Angeles, CA 90012
(213) 894-2854

Counsel for Plaintiff Julius O. Robinson

Gerald W. King, Jr. Ga. Bar No. 140981
Jeffrey Lyn Ertel Ga. Bar No. 249966
FEDERAL DEFENDER PROGRAM, INC.
101 Marietta Street, Suite 1500
Atlanta, Georgia 30303
404-688-7530
(fax) 404-688-0768
Gerald_King@fd.org
Jeff_Ertel@fd.org

Stephen Northup
VSB #16547
Troutman Sanders LLP
P.O. Box 1122
Richmond, Virginia 23218-1122
(804) 697-1240
(fax) (804) 698-5120
steve.northup@troutmansanders.com




                                            5
        Case 1:19-mc-00145-TSC Document 139 Filed 07/13/20 Page 10 of 10


Frederick R. Gerson VSB #39968
Bank Of America Center
1111 East Main Street, 16th Floor Richmond,
Virginia 23219
(804) 482-1121
fgerson@dagglaw.com


Counsel for Richard Tipton, III.

Evan Miller (DC Bar # 219310)
Vinson & Elkins LLP
2200 Pennsylvania Avenue, NW
Suite 500 West
Washington, D.C. 20037
(202) 639-6605
(202) 478-1815 (fax)
emiller@velaw.com

Counsel for Bruce Webster


                              /s/Cristen C. Handley
                              Attorney for Defendants




                                                6
       Case 1:19-mc-00145-TSC Document 139-1 Filed 07/13/20 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


                                             )
In the Matter of the                         )
Federal Bureau of Prisons’ Execution         )
Protocol Cases,                              )
                                             )
LEAD CASE: Roane et al. v. Barr              )       Case No. 19-mc-145 (TSC)
                                             )
                                             )
THIS DOCUMENT RELATES TO:                    )
                                             )
Lee & Honken v. Barr, et al., 19-cv-2559     )
Purkey v. Barr, et al., 19-cv-03214          )
Nelson v. Barr, et al., 20-cv-557            )

                            DECLARATION OF RICK WINTER

I, Rick Winter, do hereby declare and state as follows:

1.     I am employed by the United States Department of Justice, Federal Bureau of Prisons

       (“BOP”), as Regional Counsel for the BOP’s North Central Region. I have held this

       position since October 2016. I have been employed by the BOP since 1994.

2.     The statements I make hereinafter are made on the basis of my review of the official files

       and records of the BOP, my own personal knowledge, or on the basis of information

       acquired by me through the performance of my official duties.

3.     The BOP, under the supervision of the United States Marshals Service, is responsible for

       implementing federal death sentences. See 18 U.S.C. § 3596(a); 28 C.F.R. Part 26.

       Currently, execution dates are in place for four inmates. Specifically, Daniel Lewis Lee’s

       execution is scheduled to occur on July 13, 2020; Wesley Ira Purkey’s execution is

       scheduled to occur on July 15, 2020; Dustin Lee Honken’s execution is scheduled to occur

       on July 17, 2020; and Keith Dwayne Nelson’s execution is scheduled to occur on August

       28, 2020.

                                                 1
     Case 1:19-mc-00145-TSC Document 139-1 Filed 07/13/20 Page 2 of 3




4.   In advance of these dates, the BOP has been, and intends to continue, making necessary

     arrangements.

5.   Such arrangements include the activation of the execution team, which consists of

     approximately 40 BOP staff members. These staff members, by necessity, have been

     removed from their normal duties, which include a wide range of correctional and

     administrative positions within the BOP.        Pursuant to the current operational plan,

     cessation of normal duties occurs several days in advance of a scheduled execution, in

     order to give the team time to practice and prepare for their role in an execution. In addition

     to the team members, a number of BOP administrators will be present as well. They also

     ceased their normal duties in the days in advance of an execution. Logistical items such as

     travel, lodging and personal arrangements have already been completed for the three

     execution dates in July.

6.   Additionally, the BOP plans to use contractors who have made themselves available and

     have made necessary arrangements for personal and work related matters based on the

     executions scheduled in July and August. If the current execution dates are stayed, it is

     likely that both contractors will need at least one month’s notice in order to be able to

     reschedule.

7.   Executions will take place at the Federal Correctional Complex at Terre Haute, Indiana

     (FCC Terre Haute). Accordingly, FCC Terre Haute is also mobilizing personnel in

     preparation of the currently scheduled executions. In preparation, FCC Terre Haute has

     also been coordinating with federal, state, and local law enforcement agencies, some of

     who plan to send personnel to FCC Terre Haute to help maintain security for the currently

     scheduled executions.

8.   Approximately 100 BOP staff will serve as institution security and support during an

                                               2
Case 1:19-mc-00145-TSC Document 139-1 Filed 07/13/20 Page 3 of 3
